
Ehrlich, Ch. J.
We have repeatedly enforced the rule, that where no order is entered denying the motion for a new trial on the judge’s minutes, the appeal brings up for review only such errors as were committed at the trial. McArdle v. Smith, 48 St. Rep., 507, and cases cited.
No order was entered in this instance, and the rule must be applied.
The action was for brokerage in selling certain real estate belonging to the defendant.
The case went to the jury on conflicting evidence, and they found for the plaintiff.
No error appears to have been committed during the trial to the prejudice of the defendant, and as the facts are not before us for review we must affirm the judgment, with costs.
McG-own and Fitzsimons, JJ., concur.
